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                                                                                              EXHIBIT A



                         DEFAULT JUGDMENT MOTION COVER SHEET

MDL MOVING PAPERS
         Motion: ECF No.      9995
         Memorandum of law: ECF No.          9996
         Declaration & supporting exhibits: ECF No.          9997

PLAINTIFFS
Please describe each set of plaintiffs requesting judgments in this motion.
 Exhibit              Description of Plaintiffs                           Cause(s) of Action
     B      Latent Injury Decedents for whom Magistrate         FSIA (28 USC § 1605A)
            Judge Netburn recommended compensatory
            damages awards, but whose personal
            representatives died before entry of judgment,
            resulting in recommended denial with leave to
            renew upon new appointment and substitution
            of real party.
DEFENDANTS
Please list all defendants the plaintiffs are moving against:
         Islamic Republic of Iran



COMPLIANCE
         As stated in ECF No. 9997 at ¶ 3, 8 , counsel followed the quality control measures outlined in
         ECF No. 3433 and adopted in ECF No. 3435.
         As stated in ECF No. 9997 at ¶ 8 , these plaintiffs have not previously received judgments
         against these defendants.
         Excel versions of any tables attached to the proposed order were emailed to
         Netburn_NYSDChambers@nysd.uscourts.gov on 6 / 25 / 2024 .

SUBJECT MATTER JURISDICTION
    ✔    The Court previously addressed subject matter jurisdiction over these claims in ECF No. 8901, 
         The Court has not previously addressed subject matter jurisdiction over these claims.

PERSONAL JURISDICTION
    ✔
         The Court previously addressed personal jurisdiction over these defendants in ECF No. 8901, 
         The Court has not addressed personal jurisdiction over these defendants.

FACTUAL & LEGAL QUESTIONS
         This motion requests new functional equivalence findings;         new personal injury assessments;
         or resolution of a new issue:
    ✔    This motion does not raise novel factual or legal issues.
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                                                                                                                                                   EXHIBIT A


RELEVANT FILINGS
For each member case, list docket entries for the corresponding filings. Duplicate this page if additional space is needed.

       Member Case &                       Notices of Amendment                  Alternative Service          Affidavit of     Certificate of           Liability
      Operative Complaint                     & Substitutions                          Order                    Service          Default               Judgment
                                    *list entries relevant to moving plaintiffs* *complete if applicable*                                       *leave blank if requesting
                                                                                                                                                liability judgment*

20-cv-00412 (S.D.N.Y) (GBD)(SN) 20-cv-00412, ECF No. 103 (6/24/2024);                                       20-cv-00412, ECF 20-cv-00412, ECF 03-md-01570, ECF Nos.
ECF No. 13 (Amended Complaint) 03-md-01570, ECF No. 9992 (6/24/2024)                                        No. 23 (6/28/2021) No. 26 (6/28/2021) 8901, 9274


20-cv-00354 (S.D.N.Y) (GBD)(SN) 20-cv-00354, ECF No. 97 (6/24/2024);                                        20-cv-00412, ECF 20-cv-00412, ECF 03-md-01570, ECF Nos.
ECF No. 11 (Amended Complaint) 03-md-01570, ECF No. 9992 (6/24/2024)                                        No. 18 (6/28/2021) No. 21 (6/28/2021) 8901, 9274
